       Case 2:16-md-02724-CMR Document 1023 Filed 06/17/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                            MDL 2724
PRICING ANTITRUST LITIGATION                              16-MD-2724

                                                          HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                               PRETRIAL ORDER NO. 92
                         (SPECIAL DISCOVERY MASTER FEES)


       AND NOW, this 17th day of June 2019, upon consideration of the application for fees

and costs incurred by Special Discovery Master Bruce Merenstein for the months of April and

May 2019, which was submitted to the Court and Liaison Counsel pursuant to Pretrial Order No.

49, and finding that the work, fees and costs reflected thereon are “reasonably necessary” for the

fulfillment of the Special Discovery Master’s duties, and without objection from counsel, it is

hereby ORDERED that the application for fees and costs is APPROVED in full. Plaintiffs and

Defendants shall each make payment of an equal half share of the approved amount directly to

Special Discovery Master.

       It is so ORDERED.

                                                     BY THE COURT:

                                                     /s/ Cynthia M. Rufe
                                                      ____________________
                                                     CYNTHIA M. RUFE, J.
